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     (DONGGUAN) CO., LTD., formerly known as
 9   SINCO ELECTRONICS (DONGGUAN) CO., LTD.,
     LIEW YEW SOON aka, MARK LIEW, NG CHER
10   YONG. aka CY NG, and MUI LIANG TJOA aka ML
11   TJOA

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13                           UNITED STATES DISTRICT COURT

14                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                 SAN FRANCISCO DIVISION

16

17   SINCO TECHNOLOGIES PTE LTD.,               Case No. 3:17-CV-05517-EMC

18                    Plaintiff,                Action Filed: September 22, 2017

19         vs.                                  DEFENDANTS’ RESPONSE TO COURT’S
                                                ORDER OF OCTOBER 26, 2021 RE JURY
20   SINCO ELECTRONICS (DONGGUAN) CO.,          INSTRUCTIONS
     LTD.; XINGKE ELECTRONICS
21   (DONGGUAN) CO., LTD.; XINGKE               Date:          October 20, 2021
     ELECTRONICS TECHNOLOGY CO., LTD.;          Time:          3:00 p.m.
22   SINCOO ELECTRONICS TECHNOLOGY CO.,         Place:         Courtroom 5, 17th Floor
     LTD.; MUI LIANG TJOA (an individual); NG
23   CHER YONG aka CY NG (an individual); and   Judge: Honorable Edward M. Chen
     LIEW YEW SOON aka MARK LIEW (an
24   individual),                               Trial:    November 1, 2021

25                    Defendants.

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 1          Solely for the purpose of preserving a clear record and without rearguing the point,

 2   defendants reassert their objections to any instruction regarding the plaintiff’s purported claim for

 3   “passing off” or unfair competition.

 4          Attached are true and correct copies of Public Prosecutor v. Jurong Country Club (2019) 5

 5   SLR 554, BNM v. Nat’l Univ. of Singapore (2014) 4 SLR 931, and National University Hospital

 6   (Singapore) PTE Ltd. v. Cicada Cube PTE Ltd. (2017) SGHC 53.

 7          Defendants urge the court to drop the “false advertising” claim for the reasons set forth in the

 8   Court’s order.

 9          Finally, defendants believe that any award with respect to the individual defendants of both

10   statutory and compensatory damages would be duplicative and contrary to the language of 15 U.S.C.

11   § 1117(d) that statutory damages are available “instead of actual damages and profits.” See

12   Tavaglione v. Billings (1993) 4 Cal. 4th 1150, 1158-59 (Plaintiff “is not entitled to more than a single

13   recovery for each distinct item of compensable damage supported by the evidence. Double or

14   duplicative recovery for the same items of damage amounts to overcompensation and is therefore

15   prohibited.”)(internal citation omitted); Indu Craft, Inc. v. Bank of Baroda, 47 F.3d 490, 497 (2nd

16   Cir. 1997) (“A plaintiff seeking compensation for the same injury under different legal theories is of

17   course entitled to only one recovery”); MuscleTech Research and Dev. Inc. v. East Coast

18   Ingredients, LLC, 2007 WL 655755, *5 (W.D.N.Y. 2007)(same); cf. Joe Hand Prods., Inc. v.

19   Nguyen, 2012 WL 1183738, *3 (N.D. Cal. 2012)(noting that “[s]everal courts have denied recovery

20   for conversion damages as ‘cumulative’ where statutory damages were already awarded”).

21   Dated: October 28 2021.                       ARNOLD & PORTER KAYE SCHOLER LLP

22
                                                   By: /s/ Douglas A. Winthrop
23                                                     DOUGLAS A. WINTHROP

24                                                       Attorneys for Defendants
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25                                                       LTD., formerly known as SINCO
                                                         ELECTRONICS (DONGGUAN) CO., LTD.,
26                                                       LIEW YEW SOON aka, MARK LIEW, NG
                                                         CHER YONG. aka CY NG, and MUI LIANG
27                                                       TJOA aka ML TJOA

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